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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

In re:                                                           Case No. 22-14583-SMG
         Marisa Chanile Smith

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Robin R. Weiner, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 06/14/2022.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 12/19/2022.

         6) Number of months from filing to last payment: 5.

         7) Number of months case was pending: 12.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                         $17,317.28
           Less amount refunded to debtor                                   $16,618.60

NET RECEIPTS:                                                                                                           $698.68



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                               $0.00
     Court Costs                                                                         $0.00
     Trustee Expenses & Compensation                                                   $698.68
     Other                                                                               $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                                       $698.68

Attorney fees paid and disclosed by debtor:                                   $0.00



Scheduled Creditors:
Creditor                                                 Claim            Claim         Claim        Principal             Int.
Name                                         Class     Scheduled         Asserted      Allowed         Paid                Paid
Avant                                    Unsecured           167.36              NA            NA                0.00             0.00
CRB/Upgrade, Inc LBX #452210             Unsecured         1,774.00              NA            NA                0.00             0.00
D & S Law Group, P.A.                    Unsecured         7,685.00              NA            NA                0.00             0.00
LVNV Funding, LLC                        Unsecured              NA          1,080.39      1,080.39               0.00             0.00
Mohela/Dept Of Education                 Unsecured        78,795.00              NA            NA                0.00             0.00
Shoma Homes at Nautica Single Family N   Secured          35,000.00              NA            NA                0.00             0.00
U.S. Department of Education/Mohela      Unsecured              NA         81,524.40     81,524.40               0.00             0.00
US Bank Trust National Assoc.            Secured         349,610.08       359,196.37           NA                0.00             0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal               Interest
                                                                    Allowed                 Paid                   Paid
 Secured Payments:
        Mortgage Ongoing                                               $0.00                $0.00                 $0.00
        Mortgage Arrearage                                             $0.00                $0.00                 $0.00
        Debt Secured by Vehicle                                        $0.00                $0.00                 $0.00
        All Other Secured                                              $0.00                $0.00                 $0.00
 TOTAL SECURED:                                                        $0.00                $0.00                 $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00                $0.00                 $0.00
         Domestic Support Ongoing                                      $0.00                $0.00                 $0.00
         All Other Priority                                            $0.00                $0.00                 $0.00
 TOTAL PRIORITY:                                                       $0.00                $0.00                 $0.00

 GENERAL UNSECURED PAYMENTS:                                     $82,604.79                 $0.00                 $0.00



 Disbursements:

          Expenses of Administration                                       $698.68
          Disbursements to Creditors                                         $0.00

 TOTAL DISBURSEMENTS :                                                                                        $698.68



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 06/26/2023                                  By: /s/ Robin R. Weiner
                                                                                  Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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